    Case 3:19-cv-00054-NKM-JCH Document 143 Filed 05/11/21 Page 1 of 3 Pageid#: 1216




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION

                                                     )
        KIERAN RAVI BHATTACHARYA,                    )
                                                     )
                        Plaintiff,                   )
                                                     )
        v.                                           )    Civil Action No.: 3:19-CV-00054-NKM-JCH
                                                     )
        JAMES B. MURRAY, JR., et al.,                )
                                                     )
                                                     )
                        Defendants                   )
                                                     )

                 MEMORANDUM IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL

                  COMES NOW undersigned counsel, Jack G. Haake, for the Plaintiff, Kieran Ravi

        Bhattacharya (“Bhattacharya”). While this case is pending, Mr. Haake respectfully moves to

        withdraw as counsel pursuant to Local Rule 6(i) for the following reasons:

                  1.    The law firm of Foley & Lardner LLP has been engaged by Bhattacharya to

        represent him in this case.

                  2.    Undersigned counsel, Jack G. Haake, is leaving Foley & Lardner LLP on May 14,

        2021 to pursue legal employment elsewhere.

                  3.    Lead counsel, Mr. Michael J. Lockerby, also of Foley & Lardner LLP, who is

        admitted in this Court, will continue to represent Bhattacharya in this case.

                  4.    In this context, Mr. Haake respectfully moves to withdraw as counsel for Plaintiff

        in this case.




4816-9401-3161
    Case 3:19-cv-00054-NKM-JCH Document 143 Filed 05/11/21 Page 2 of 3 Pageid#: 1217




          Date: May 11, 2021

                                               Respectfully submitted,

                                               KIERAN RAVI BHATTACHARYA


                                               By: s/ Jack G. Haake

                                               Jack G. Haake (VSB No. 87590)
                                               FOLEY & LARDNER LLP
                                               Washington Harbour
                                               3000 K Street, N.W., Suite 600
                                               Washington, D.C. 20007-5109
                                               Telephone: (202) 672-5300
                                               Facsimile: (202) 672-5399
                                               Email: jhaake@foley.com




                                           2
4816-9401-3161
    Case 3:19-cv-00054-NKM-JCH Document 143 Filed 05/11/21 Page 3 of 3 Pageid#: 1218




                                         CERTIFICATE OF SERVICE

                 I hereby certify that on this 11th day of May, 2021, I caused the foregoing to be served

        via the Court’s CM/ECF system on all counsel of record for Defendants.




                                                              By: s/ Jack G. Haake
                                                              Jack G. Haake (VSB No. 87590)
                                                              FOLEY & LARDNER LLP
                                                              Washington Harbour
                                                              3000 K Street, N.W., Suite 600
                                                              Washington, D.C. 20007-5109
                                                              Telephone: (202) 672-5300
                                                              Facsimile: (202) 672-5399
                                                              Email: jhaake@foley.com




                                                          3
4816-9401-3161
